 Case 2:23-cv-00845-HCN Document 36 Filed 04/15/24 PageID.257 Page 1 of 2




Richard A. Kaplan
YOUNG HOFFMAN, LLC
175 South Main Street, Suite 850
Salt Lake City, UT 84111
Telephone: 801-359-1900
Email: rkaplan@yahlaw.com
Attorneys for Swift Innovations, LLC


                               UNITED STATES DISTRICT COURT
                            DISTRICT OF UTAH, CENTRAL DIVISION


APOTHECARY MOVEMENT, LLC, a Utah
limited liability company,                         SWIFT’S SUPPLEMENTAL
                                                   SUBMISSION IN SUPPORT OF
               Plaintiff,                          MOTION TO SET ASIDE DEFAULT
                                                   JUDGEMENT AND TO VACATE
vs.                                                WRITS OF GARNISHMENT
BH ELEGANT LINENS, LLC dbas AA
WHOLESALE DEALS; and SWIFT
INNOVATIONS, a New York limited liability
company,
                                                       Civil No. 2:23-cv-00845-HCN-DAO
               Defendants.
                                                           Judge Howard C. Nielson, Jr.


       Putative Defendant/Judgment Debtor Swift Innovations, LLC (“Swift”), by and through

its counsel, Richard A. Kaplan of YOUNG HOFFMAN, LLC, respectfully offers this Supplemental

Submission to the Court, together with the attached Declaration of Avi Alhakim (“Alhakim

Decl.”) and the Exhibits thereto, in support of Swift’s Motion to Set Aside Default Judgment as

void for lack of jurisdiction under Rule 60 (4) of the Federal Rules of Civil Procedure and to

Vacate Writs of Garnishment. This submission is made in response to the Court’s Docket Text

Order dated Friday, April 12, 2024. Further, counsel finds it necessary to acknowledge that in

seeking to simplify and expedite the filing of the motion by relying on the pleadings, he clearly



                                              1 of 2
 Case 2:23-cv-00845-HCN Document 36 Filed 04/15/24 PageID.258 Page 2 of 2




misread the Second Amended Complaint and failed to verify or correct his misunderstanding.

Simply put, what counsel said in earlier papers about Swift’s state of formation was wrong.

Counsel expresses his sincere apology for the error and especially for the extra work he created

needlessly for the Court and its staff.


       Dated this 15th day of April, 2024.

                                                       /s/ Richard A. Kaplan
                                                       Richard A Kaplan
                                                       Young Hoffman, LLC
                                                       Attorney for Swift Innovations, LLC




                                              2 of 2
